Case 3:22-cv-03131-JCS Document 149-1 Filed 03/20/24 Page 1 of 16




                                      EXHIBIT A
      Case
       Case3:22-cv-03131-JCS
            1:23-cv-10998-RGSDocument
                              Document149-1
                                        32 Filed
                                            Filed01/11/24
                                                  03/20/24 Page
                                                            Page12ofof15
                                                                       16




                    UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS

                   CIVIL ACTION NO. 23-cv-10998-RGS


             MICHELE SAUNDERS and RICHARD HAYDEN,
          on behalf of themselves and all others similarly situated

                                       v.

                        HEARST TELEVISION, INC.


            MEMORANDUM AND ORDER ON DEFENDANT’S
           MOTION TO DISMISS THE AMENDED COMPLAINT
                 FOR FAILURE TO STATE A CLAIM

                               January 11, 2024

      Hearst Television, Inc., is the owner of several mobile applications on

which consumers can access various news stories. Michele Saunders and

Richard Hayden filed this putative class action against Hearst, claiming that

it disclosed to third parties their personally identifiable information –

including a record of every video they viewed on Hearst’s apps 1 – in violation

of the Video Privacy Protection Act, 18 U.S.C. § 2710 (VPPA). Plaintiffs seek

declaratory and injunctive relief, damages, and attorneys’ fees and costs.




      1 A software application, or “app,” is a “[s]oftware designed to carry out

a specific task other than one relating to the operation of the computer itself.”
Application Software, Oxford English Dictionary (Sept. 2023 ed.).
     Case
      Case3:22-cv-03131-JCS
           1:23-cv-10998-RGSDocument
                             Document149-1
                                       32 Filed
                                           Filed01/11/24
                                                 03/20/24 Page
                                                           Page23ofof15
                                                                      16




Hearst moves to dismiss plaintiffs’ First Amended Complaint (FAC) (Dkt.

# 22) for failure to state a claim.2 The court will deny the motion.

                              BACKGROUND

      Hearst owns various apps on which users can read and watch local and

national news, sports, weather, traffic, politics, and entertainment stories.

Plaintiffs, who are residents of Massachusetts and New Hampshire, watched

videos of weather updates on two local news apps owned by Hearst – the

WCVB 5 and WMUR 9 apps – for several years. When Saunders downloaded

the WCVB 5 app, she provided her email address and enabled geolocation

services and push notifications. Hayden also enabled geolocation services

and push notifications when he downloaded the WMUR 9 app, but he did

not provide his email address.

      Prior to filing this case, plaintiffs’ counsel retained a private research

company to analyze what, if any, personal data is transmitted by Hearst’s

apps when a user watches a video. The analysis determined that Hearst

integrates two application programming interfaces (APIs) into its apps: the




      2 Hearst previously moved to dismiss plaintiffs’ initial complaint.
Because the FAC supersedes the original complaint, that motion is moot. See
Kolling v. Am. Power Conversion Corp., 347 F.3d 11, 16 (1st Cir. 2003).
                                       2
     Case
      Case3:22-cv-03131-JCS
           1:23-cv-10998-RGSDocument
                             Document149-1
                                       32 Filed
                                           Filed01/11/24
                                                 03/20/24 Page
                                                           Page34ofof15
                                                                      16




Braze API and the DoubleClick API. 3 At a high level, Hearst shares data

about its apps’ users with Braze and Google (the owner of the DoubleClick

API) through these APIs to improve its marketing and analytics. Specifically,

the Braze API assigns users a user ID, a unique and random string of

numbers, which allows Hearst to “[t]rack [its] users across devices and

platforms, improving the quality of [its] behavioral and demographic data.”

Setting   User    IDs,   Braze,    https://www.braze.com/docs/developer_

guide/platform_integration_guides/android/analytics/setting_user_ids/

(last visited Jan. 11, 2024). The DoubleClick API does not assign user IDs,

but Hearst provides Google with a user’s advertising ID (AAID), which is a

unique and random string of numbers associated with an individual device.

Users can reset AAIDs, but plaintiffs claim that “because virtually no one

knows about AAIDs, . . . virtually no one resets that identifier.” FAC ¶ 48.

      Each time a user watches a video on one of Hearst’s apps, Hearst

discloses to Braze the user’s email address and location at the time she

watched the video,4 as well as a unique video ID associated with each video


      3An API allows different apps to “talk” to each other, allowing
companies to share application data with third parties. See What is an API?,
IBM, https://www.ibm.com/topics/api (last visited Jan. 11, 2024).

      4 Hearst only discloses a user’s email address and geolocation
information to Braze and Google if the user has provided this information to
Hearst.
                                      3
      Case
       Case3:22-cv-03131-JCS
            1:23-cv-10998-RGSDocument
                              Document149-1
                                        32 Filed
                                            Filed01/11/24
                                                  03/20/24 Page
                                                            Page45ofof15
                                                                       16




the user watched and data showing that the video was watched. Similarly, in

addition to the user’s AAID, Hearst discloses to Google a user’s geolocation,

the title and ID of each video she watched, and data showing that the video

was watched. Although plaintiffs concede that they chose to share with

Hearst geolocation information and, in Saunders’s case, her email address,

they allege that they never gave Hearst permission to disclose this

information to third parties.

                                DISCUSSION

      “To survive a motion to dismiss, [plaintiffs’] complaint ‘must contain

sufficient factual matter . . . to state a claim that is plausible on its face.”

Saldivar v. Racine, 818 F.3d 14, 18 (1st Cir. 2016), quoting Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009) (second alteration in original). Under this familiar

“make-or-break standard,” a claim has facial plausibility “when the plaintiff

pleads sufficient factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.”

Sepúlveda-Villarini v. Dep’t of Educ. of Puerto Rico, 628 F.3d 25, 29 (1st Cir.

2010). Although the standard is deferential to plaintiffs, “[i]f the facts

articulated in the complaint are ‘too meager, vague, or conclusory to remove

the possibility of relief from the realm of mere conjecture,’ the complaint is




                                       4
      Case
       Case3:22-cv-03131-JCS
            1:23-cv-10998-RGSDocument
                              Document149-1
                                        32 Filed
                                            Filed01/11/24
                                                  03/20/24 Page
                                                            Page56ofof15
                                                                       16




vulnerable to a motion to dismiss.” In re Curran, 855 F.3d 19, 25 (1st Cir.

2017), quoting SEC v. Tambone, 597 F.3d 436, 442 (1st Cir. 2010).

      The VPPA prohibits a “video tape service provider” from “knowingly

disclos[ing], to any person, personally identifiable information concerning

any consumer of such provider.” 18 U.S.C. § 2710(b)(1). A video tape service

provider is “any person, engaged in the business, in or affecting interstate or

foreign commerce, of rental, sale, or delivery of prerecorded video cassette

tapes or similar audio visual materials,” and a consumer is “any renter,

purchaser, or subscriber of goods or services from a video tape service

provider.”   Id. § 2710(a).    The statute defines personally identifiable

information (PII) as that which “identifies a person as having requested or

obtained specific video materials or services from a video tape service

provider.” Id. The VPPA creates a private right of action for “[a]ny person

aggrieved by an act of a person in violation of” the statute. Id. § 2710(c).

      Hearst moves to dismiss on seven grounds. Five grounds are based on

the pleadings, claiming that the FAC fails to adequately allege that: (1) Hearst

is a “video tape service provider,” (2) plaintiffs are “consumers,” (3) the

disclosed information is PII, (4) the transmission was knowing, and

(5) plaintiffs suffered actual damages.     Hearst also claims that (6) the

information was disclosed in the “ordinary course of business” so satisfies an


                                       5
     Case
      Case3:22-cv-03131-JCS
           1:23-cv-10998-RGSDocument
                             Document149-1
                                       32 Filed
                                           Filed01/11/24
                                                 03/20/24 Page
                                                           Page67ofof15
                                                                      16




exception to liability under the VPPA, and (7) plaintiffs’ reading of the VPPA

violates the First Amendment. The court addresses the arguments in turn.

Plaintiffs Allege that Hearst Is a Video Tape Service Provider

     Hearst claims that it is not a video tape service provider because the

statutory definition of such a provider is limited to “distributors of

prerecorded videocassettes or similar media available at that time” Congress

pass the VPPA. Mot. to Dismiss the Am. Compl. for Failure to State a Claim

(Mot. to Dismiss) (Dkt. # 26) at 9. This is too narrow a reading of the VPPA.

Although originally passed in the era of rental video stores, Congress

amended the VPPA in 2012 because VHS tapes are “now obsolete . . . . Today,

so-called ‘on-demand’ cable services and Internet streaming services allow

consumers to watch movies or TV shows on televisions, laptop computers,

and cell phones.” S. Rep. 112-258, at 2. The FAC’s allegations that Hearst

“host[s] and deliver[s] thousands of videos” to one of every five homes in the

United States are sufficient. FAC ¶¶ 10, 14; Ambrose v. Boston Globe Media

Partners, 2022 WL 4329373, at *2 (D. Mass. Sept. 19, 2022).

The FAC Plausibly Alleges that Plaintiffs Are Consumers

      Plaintiffs allege that they are subscribers of Hearst’s apps, which is

sufficient to be a “consumer” under the VPPA. See 18 U.S.C. § 2710(a)(1).

The First Circuit has adopted a “broader common definition of the term”


                                      6
      Case
       Case3:22-cv-03131-JCS
            1:23-cv-10998-RGSDocument
                              Document149-1
                                        32 Filed
                                            Filed01/11/24
                                                  03/20/24 Page
                                                            Page78ofof15
                                                                       16




subscriber in the VPPA under which an individual need not pay a fee to be a

subscriber. See Yershov v. Gannett Satellite Info. Network, Inc., 820 F.3d

482, 487-488 (1st Cir. 2016). 5 Instead, a person is a “subscriber” of an app

if she provides some consideration to use the app. Id. at 489. In Yershov,

the sufficient consideration was Yershov’s “Android ID and his mobile

device’s GPS location at the time he viewed a video, each linked to his viewing

selections.” Id.

      According to the FAC, any time a user views a video on one of Hearst’s

apps, the full name of the video and/or the video ID is provided to Braze and

Google with the user’s AAID or user ID. Id. ¶¶ 55-57, 60-64, 66-68. The FAC

further alleges that Saunders provided her email address to the WCVB 5 app

and that both Saunders and Hayden enabled geolocation services and push

notifications.     FAC ¶¶ 106, 112.   Taken together, the FAC alleges that

plaintiffs provided adequate consideration to use Hearst’s apps to obtain

subscriber status under the VPPA. See Yershov, 820 F.3d at 489.




      5 Hearst repeatedly argues that Yershov “is not binding precedent,”

ostensibly because Yershov voluntarily dismissed his case after discovery.
See, e.g., Mot. to Dismiss at 19-20; Reply in Further Support of Mot. to
Dismiss the Amended Compl. (Reply) (Dkt. # 28) at 1-2 & n.1. This is plainly
incorrect. The First Circuit’s decisions are of course binding on the court,
and the ultimate disposition of Yershov does not alter this fact.
                                       7
      Case
       Case3:22-cv-03131-JCS
            1:23-cv-10998-RGSDocument
                              Document149-1
                                        32 Filed
                                            Filed01/11/24
                                                  03/20/24 Page
                                                            Page89ofof15
                                                                       16




The FAC Alleges that the Disclosed Information Is PII

      The FAC alleges that the geolocation data, which was provided to third

parties alongside video IDs and/or video titles, divulged the precise locations

of plaintiffs when they viewed videos on Hearst’s apps. 6 This information

alone “would enable most people to identify what are likely the home and

work addresses of the viewer.” Id. at 486; see also In re Nickelodeon

Consumer Priv. Litig., 827 F.3d 262, 289 (3d Cir. 2016) (“GPS coordinates

contain . . . power to identify a specific person.”); Louth v. NFL Enters. LLC,

2022 WL 4130866 at *3 (D.R.I. Sept. 12, 2022) (a “short string of numbers

that links to a particular video name” is sufficient to identify a specific video).

The FAC further alleges that if an individual enters the geolocation data into




      6 Hearst argues that the geolocation data pled in the FAC does not

identify plaintiffs because the data “indicates the device(s) that sent GPS
signals . . . may have been located in or around 1306 to 1314 Solano Avenue
in Albany, California at some point in time,” but Saunders and Hayden reside
in Massachusetts and New Hampshire. Mot. to Dismiss at 16 (citation
omitted). This is true, but the geolocation data pled in the FAC was from a
“tester,” not plaintiffs. See FAC ¶ 16.
                                        8
     Case
      Case3:22-cv-03131-JCS
            1:23-cv-10998-RGSDocument
                               Document
                                      149-1
                                        32 Filed
                                            Filed01/11/24
                                                  03/20/24 Page
                                                           Page910
                                                                 ofof
                                                                   1516




a publicly available website, “the user’s precise location is displayed in

latitude, longitude, and on Google Maps.”7 FAC ¶ 39.

     The allegations that Hearst disclosed plaintiffs’ unique user IDs and

AAIDs and, in some cases, their email addresses, strengthens their claims.

See Lamb v. Forbes Media LLC, 2023 WL 6318033, at *10 (S.D.N.Y. Sept.

28, 2023) (“Courts have uniformly held Facebook IDs to constitute PII under

the VPPA, particularly where—as here—the plaintiff alleges that her

Facebook ID was disclosed alongside the viewed video’s URL and name.”);

In re Nickelodeon, 827 F.3d at 289 n.174 (“[E]ven a numeric identifier might

qualify as [PII].”). The FAC thus limns a claim that the information disclosed

was PII because it was reasonably and foreseeably likely that an ordinary

person would be able to both identify the specific videos that plaintiffs

watched and know that it was likely plaintiffs who watched them.

The FAC Adequately Pleads Knowledge

     Hearst contends that the FAC does not adequately allege that it

knowingly transmitted PII because it did not believe that the data it was

conveying was PII. Mot. to Dismiss at 24-25. But the FAC is rife with

allegations that Hearst knew that it was collecting data from users that


     7 Indeed, Hearst determined the likely address of the tester’s workplace

using the geolocation data pled in the FAC despite plaintiffs not disclosing
the actual address. See Mot. to Dismiss at 16.
                                      9
     Case
      Case3:22-cv-03131-JCS
           1:23-cv-10998-RGSDocument
                             Document149-1
                                       32 Filed
                                           Filed01/11/24
                                                 03/20/24 Page
                                                           Page10
                                                                11ofof15
                                                                       16




identified personalized information about them because, in exchange for the

data, Braze and Google provided Hearst with analytics allowing it to provide

advertisements tailored to specific users.      E.g., FAC ¶¶ 96-105.     These

allegations adequately plead knowledge. See Yershov, 820 F.3d at 486;

Golden v. NBCUniversal Media, LLC, 2023 WL 5434378, at *8 (S.D.N.Y.

Aug. 23, 2023); Louth, 2022 WL 4130866, at *3.

Plaintiffs Need Not Plead Actual Damages

      The VPPA permits “[a]ny person aggrieved” by a violation of the statute

to recover “actual damages but not less than liquidated damages in an

amount of $2,500,” punitive damages, attorneys’ fees and costs, and other

equitable relief. 18 U.S.C. § 2710(c). Hearst reads this provision to require

plaintiffs to plead pecuniary loss. Mot. to Dismiss at 26. The court disagrees.

      The problem with Hearst’s reading of the statute is that the text of the

VPPA does not condition recovery on proof of actual damages. In Doe v.

Chao, 540 U.S. 614 (2004), on which Hearst relies heavily, Doe argued that

the Privacy Act of 1974, 5 U.S.C. § 552a, did not require proof of actual

damages. The Privacy Act provides that if the United States violates a

provision of the statute, it “shall be liable to the individual in an amount

equal to the sum of actual damages sustained by the individual as a result of

the [violation], but in no case shall a person entitled to recovery receive less


                                      10
     Case
      Case3:22-cv-03131-JCS
           1:23-cv-10998-RGSDocument
                             Document149-1
                                       32 Filed
                                           Filed01/11/24
                                                 03/20/24 Page
                                                           Page11
                                                                12ofof15
                                                                       16




than the sum of $1,000.” 5 U.S.C. § 552a(g)(4). The Court concluded that

Doe needed to prove actual damages to prevail on a Privacy Act claim. Chao,

540 U.S. at 620. But in doing so, it noted that if Congress wished to allow

recovery of liquidated damages for violations of the Privacy Act absent actual

damages, it could have made the statute read “the Government would be

liable to the individual for actual damages ‘but in no case . . . less than the

sum of $1,000.’” Id. at 623 (alteration in original). That is nearly exactly

how the VPPA is styled. See 18 U.S.C. § 2710(c)(2)(A) (“The court may award

actual damages but not less than liquidated damages in an amount of

$2,500.”).

      Nor is the statute’s reference to a “person aggrieved” by violation of the

statute meant to cabin viable VPPA claims only to plaintiffs who have

suffered actual damages. The cases that Hearst cites in support of this

argument all interpret statutes other than the VPPA, and each statute

contains materially different language than that of the VPPA. The court is

comfortable that at this preliminary stage, and absent guidance from the

First Circuit on the issue, plaintiffs may proceed without alleging any specific

pecuniary loss.




                                      11
     Case
      Case3:22-cv-03131-JCS
           1:23-cv-10998-RGSDocument
                             Document149-1
                                       32 Filed
                                           Filed01/11/24
                                                 03/20/24 Page
                                                           Page12
                                                                13ofof15
                                                                       16




The Ordinary Course of Business Exception Does Not Apply

      The VPPA has a narrow exception for disclosures made “incident to the

ordinary course of business.” 18 U.S.C. § 2710(b)(2)(E). “[O]rdinary course

of business” means “only debt collection activities, order fulfillment, request

processing, and the transfer of ownership.” Id. § 2710(a). The alleged uses

of the information here – “marketing, advertising, and analytics” – do not

fall within the exception’s narrow list of permissible uses. FAC ¶ 29; see also

Louth, 2022 WL 4130866, at *4 (disclosing PII to “measure analytics and

increase advertising revenue” does not fall within ordinary course of

business exception).

The Application of the VPPA Alleged in the FAC Is Consonant with
the First Amendment

      Hearst finally argues that plaintiffs’ reading of the VPPA runs

“headlong into the First Amendment” because the VPPA is a content- and

speaker-based regulation that would not survive intermediate or strict

scrutiny as applied to “any communications by publishers to facilitate

advertising.” Mot. to Dismiss at 27-29. Plaintiffs counter that Hearst’s

speech is commercial speech, so the VPPA is subject to intermediate scrutiny.

      Commercial speech is “expression related solely to the economic

interests of the speaker and its audience.” Pharm. Care Mgmt. Ass’n v.

Rowe, 429 F.3d 294, 309 (1st Cir. 2005), quoting El Dia, Inc. v. Puerto Rico

                                      12
     Case
      Case3:22-cv-03131-JCS
           1:23-cv-10998-RGSDocument
                             Document149-1
                                       32 Filed
                                           Filed01/11/24
                                                 03/20/24 Page
                                                           Page13
                                                                14ofof15
                                                                       16




Dep’t of Consumer Affs., 413 F.3d 110, 115 (1st Cir. 2005). If the commercial

speech concerns lawful activity and is not misleading, it may be regulated if

the government: (1) “assert[s] a substantial interest in support of its

regulation”; (2) “demonstrate[s] that the restriction on commercial speech

directly and materially advances that interest”; and (3) the regulation is

“narrowly drawn.” Florida Bar v. Went For It, Inc., 515 U.S. 618, 624 (1995),

quoting Cent. Hudson Gas & Elec. Corp. v. Pub. Serv. Comm’n of New York,

447 U.S. 557, 564-565 (1980). At bottom, the VPPA must evince a “fit

between the legislature’s ends and the means chosen to accomplish those

ends” that is “not necessarily perfect, but reasonable.” Bd. of Trs. of State

Univ. of New York v. Fox, 492 U.S. 469, 481 (1989), quoting Posadas de

Puerto Rico Assocs. v. Tourism Co. of Puerto Rico, 478 U.S. 328, 341 (1986).

      As plead in the FAC, Hearst’s disclosure of PII to third parties is

commercial speech.8 See Sorrell v. IMS Health Inc., 564 U.S. 552, 563-565

(2011) (analyzing restrictions on the “sale, disclosure, and use of prescriber-


      8  Even if the disclosures do not strictly satisfy the definition of
commercial speech, speech that is “solely in the individual interest of the
speaker and its specific business audience” and does not implicate matters
of public concern is subject to “many of the same concerns that argue in favor
of reduced constitutional protection” for commercial speech. Dun &
Bradstreet, Inc. v. Greenmoss Builders, Inc., 472 U.S. 749, 761-762 & n.8
(1985). And the speech here is “solely motivated by the desire for profit,”
which “is a force less likely to be deterred than others,” further counseling in
favor of the application of intermediate scrutiny. Id. at 762.
                                      13
     Case
      Case3:22-cv-03131-JCS
           1:23-cv-10998-RGSDocument
                             Document149-1
                                       32 Filed
                                           Filed01/11/24
                                                 03/20/24 Page
                                                           Page14
                                                                15ofof15
                                                                       16




identifying information” with commercial speech framework); see also

Boelter v. Hearst Commc’ns, Inc., 192 F. Supp. 3d 427, 445-446 (S.D.N.Y.

2016) (disclosing identities of individuals who purchase products covered by

state analog of VPPA is commercial speech). The speech concerns lawful

activity and is not misleading, and the court finds that the VPPA satisfies the

intermediate scrutiny test.

      First, Congress’s interest in enacting the VPPA was to “preserve

personal privacy with respect to the rental, purchase or delivery of video

tapes or similar audio visual materials.” S. Rep. 100-599 at 1. The Supreme

Court has repeatedly recognized the sanctity of personal privacy. E.g.,

Florida Bar, 515 U.S. at 625; Frisby v. Schultz, 487 U.S. 474, 483-485 (1988).

Second, restricting Hearst from disclosing to third parties the precise videos

that plaintiffs viewed alongside plaintiffs’ PII directly and materially

advances that interest. Third, the court can conceive of no legitimate non-

commercial First Amendment interest of Hearst that its exploitation of

plaintiffs’ PII serves. Finally, the VPPA is narrowly drawn because it applies

only to a narrow group of business entities and specific group of consumers.

The court is satisfied that the “fit” between Congress’s goal of protecting

privacy in this realm and its means to do so is at least reasonable. See Bd. of

Trs. of State Univ. of New York, 492 U.S. at 481.


                                      14
     Case
      Case3:22-cv-03131-JCS
           1:23-cv-10998-RGSDocument
                             Document149-1
                                       32 Filed
                                           Filed01/11/24
                                                 03/20/24 Page
                                                           Page15
                                                                16ofof15
                                                                       16




         This conclusion is bolstered by the fact that the court is aware of no

cases in any circuit – and Hearst cites none – holding that the VPPA violates

the First Amendment. Hearst’s reliance on Stark v. Patreon, Inc., 656 F.

Supp. 3d 1018 (N.D. Cal. 2023), to argue otherwise is unavailing. In Stark,

the Northern District of California concluded that the VPPA might regulate

both commercial and non-commercial speech and thus was subject to facial

overbreadth review. Id. at 1034-1036. But it declined to engage in such

review at the motion-to-dismiss stage because overbreadth analysis

“depends not only on statutory text but also on ‘actual fact.’” Id. at 1037,

quoting New York State Club Ass’n v. City of New York, 487 U.S. 1, 14 (1988).

The court declines to raise a sua sponte facial challenge to the statute at this

stage.

                                    ORDER

         For the foregoing reasons, Hearst’s motion to dismiss the FAC is

DENIED.

                                      SO ORDERED.

                                      /s/ Richard G. Stearns
                                      UNITED STATES DISTRICT JUDGE




                                       15
